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12.    Mr. Doe and Ms. Roe met each other on their first night at Virginia Tech as

freshmen and had several consensual sexual encounters during the early weeks of

their first semester.

13.    Mr. Doe and Ms. Roe were both members of the VT Snow Club and would see

each other regularly at and after Snow Club meetings.

14.    The Snow Club held several annual events at Snowshoe Mountain, WV;

attending members of the Snow Club rent and share houses.

15.    On the weekend of February 11, 2017, both Mr. Doe and Ms. Roe participated

in an overnight skiing and snowboarding event at Snowshoe Mountain coordinated

by the Virginia Tech Snow Club.

16.    Mr. Doe and Ms. Roe shared the same bedroom along with several other

friends in a rented house during the weekend.

17.    Mr. Doe spent most of February 11, 2017 snowboarding with Ms. Roe, Female

Witness No. 1 and Male Witness No. 2.

18.    Both Mr. Doe and Ms. Roe drank alcoholic beverages over the course of the

day.

19.    When asked later, neither Mr. Doe nor Ms. Roe could state with certainty

how much alcohol they consumed.

20.    Upon returning to the rental house, Mr. Doe and Male Witness No. 2 helped

Ms. Roe take off her snow gear and Ms. Roe got into bed and went to sleep.

21.    Female Witness No. 1 and Male Witness No. 2 left to dine out. Mr. Doe

stayed behind, as he had brought his own food.




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22.     Approximately twenty minutes later, Ms. Roe woke up and asked Mr. Doe to

make her some food. Mr. Doe brought the food to Ms. Roe in the bedroom; she ate a

few bites and then went back to sleep for about fifteen minutes.

23.     Mr. Doe ate his food while sitting on the same bed as Ms. Roe as there was no

other place to sit in the room.

24.     During this time, there were two other people asleep in another bed in the

room.

25.     Ms. Roe woke up and began talking with Mr. Doe and then started kissing

him and pressing herself against him.

26.     Ms. Roe then asked Mr. Doe to cuddle with her in the bed and placed Mr.

Doe's hand down her pants and on her genitals.

27.     Mr. Doe then digitally penetrated Ms. Roe at her request and encouragement.

28.     Ms. Roe asked Mr. Doe to engage in vaginal intercourse which he refused.

29.     The other people in the room had no recollection of an assault or disturbance

on the evening of February 11, 2017.

30.     At that time, Female Witness No. 1 and Male Witness No. 2 returned from

picking up food; Mr. Doe, Ms. Roe, Female Witness No. 1, and Male Witness No. 2

then left separately to attend different parties. Mr. Doe did not see Ms. Roe again

that night.

31.     The next morning, Mr. Doe did not see Ms. Roe.




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       WHEREFORE, plaintiff Joseph Doe prays that judgement be entered in his

favor for:

   (1) compensatory and punitive damages in an amount to be determined at trial;

   (2) a permanent injunction (a) restraining Virginia Tech, and all those acting in

       consort with Virginia Tech, from continuing to enforce any punishment

       against him and from making any notation on his transcript or keeping any

       record relating to his disciplinary hearing in Mr. Doe's education records, and

       (b) ordering that Virginia Tech rescind and expunge the sanctions entered

       against him by Virginia Tech;

   (3) a declaration that (a) the University violated Mr. Doe's due process rights

      and its actions were motivated purely by gender, (b) the University reached

      an erroneous outcome that was motivated by gender bias, and (c) Mr. Doe

      was unjustly sanctioned by Virginia Tech;

   (4) costs; including attorneys' fees under Title IX and 42 U.S.C. § 1988, and such

      further relief as is just and equitable.
DATED: October 23, 2018
                                                 Respectfully submitted,




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